                                      Case 24-17128              Doc 2        Filed 08/23/24            Page 1 of 1
B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                                  District of Maryland
 In re       Totally Cool, Inc.                                                                               Case No.
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept compensation at customary hourly rates plus      $
          expenses
              Prior to the filing of this statement I have received compensation at customary hourly      $                 52,434.50
          (plus $75,000.00 held as retainer)
             Balance Due                                                                                  $                        0.00

2.    $     1,738.00 of the filing fee has been paid.

3.    The source of the compensation paid to me was:
                  Debtor             Other (specify):

4.    The source of compensation to be paid to me is:
                  Debtor             Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
      e. [Other provisions as needed]


7.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     August 23, 2024                                                          /s/ Irving E. Walker
     Date                                                                     Irving E. Walker MD #00179
                                                                              Signature of Attorney
                                                                              Cole Schotz P.C.
                                                                              1201 Wills Street, Suite 320
                                                                              Baltimore, MD 21231
                                                                              410-230-0660 Fax: 410-230-0667
                                                                              Name of law firm
